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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     ALEX ZAVALA-TAPIA
6
7
8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,        )
12                                    )    Cr.S. 09-297-WBS
                     Plaintiff,       )
13                                    )    STIPULATION AND [PROPOSED]
               v.                     )    ORDER
14                                    )
     ALEX ZAVALA-TAPIA,               )    DATE:     October 31, 2011
15                                    )    TIME:     9:30 a.m.
                                      )    JUDGE:    Hon. William B. Shubb
16                   Defendants.      )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through SAMUEL WONG, Assistant U.S. Attorney, and defendant,

20   ALEX ZAVALA-TAPIA by and through his counsel, BENJAMIN GALLOWAY,

21   Assistant Federal Defender, that the status conference set for Monday,

22   October 31, 2011 is to be vacated.

23   DATED: October 21, 2011          Respectfully submitted,

24                                    DANIEL J. BRODERICK
                                      Federal Defender
25
                                      /s/ Benjamin Galloway
26                                    BENJAMIN GALLOWAY
                                      Assistant Federal Defender
27                                    Attorney for Defendant
                                      ALEX ZAVALA-TAPIA
28   / / /
          Case 2:09-cr-00297-WBS Document 103 Filed 10/26/11 Page 2 of 2


1    DATED: October 21, 2011       BENJAMIN B. WAGNER
                                   United States Attorney
2
                                   /s/ Benjamin Galloway for
3                                  SAMUEL WONG
                                   Assistant U.S. Attorney
4                                  Attorney for Plaintiff

5
                                   O R D E R
6
7       It is here by order that the status conference set for October 31,

8    2011 is hereby vacated.

9
     DATED:   October 26, 2011
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